      FOSS
  DECLARATION
    EXHIBIT 5




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 February 13, 2019                                                  S UITE 2500
                                                                    O NE GATEWAY CENTER
                                                                    NEWARK , NJ 07102
                                                                    (973) 848-1244

 VIA ECF                                                            K ELLY J ONES HOWELL

                                                                    DIRECT:  (212) 912-3652
 Honorable Michael A. Shipp                                         F AX :   (212) 687-0659
                                                                    KHOWELL @HARRISBEACH . COM
 U.S. District Court for the District of New Jersey
 Clarkson S. Fisher Federal Building & U.S. Courthouse
 402 East State Street
 Trenton, New Jersey 08608

       Re:    NewMarket Pharmaceuticals, LLC v. VetPharm, Inc., et al.,
              Civil Action No. 3:17-cv-01852-MAS-TJB

 Dear Judge Shipp:

        I am counsel for defendants VetPharm, Inc. and Denni O. Day (collectively,
 “VetPharm”) in the referenced action. I submit this letter in response to the letter
 filed on February 11, 2019, by counsel for plaintiff NewMarket Pharmaceuticals,
 LLC (“NewMarket”) (ECF Doc. No. 103), requesting “emergency clarification” of
 this Court’s order dated December 12, 2018 (ECF Doc. No. 101). For the reasons
 set forth below, VetPharm submits that no such clarification is needed and that
 NewMarket’s application is now moot.

        The Court’s December 12 order provided that “[t]he Parties shall return to
 arbitration by February 12, 2019,” and that “if NewMarket fails to comply with the
 Court’s order requiring the parties to submit to arbitration within sixty days,” then
 VetPharm could renew its motion to dismiss this action (ECF Doc. No. 101). In a
 letter dated February 6, 2019, NewMarket took the position that VetPharm was
 responsible for initiating an arbitration proceeding with AAA.1 VetPharm
 responded by letter dated February 8, 2019, explaining its position that the onus
 was on NewMarket, as the claimant, to file a demand for arbitration.2 (NewMarket
 inexplicably chose not to submit to the Court copies of the letters that prompted its
 “emergency clarification” motion.)




 1
    A copy of the December 6, 2018 letter from NewMarket’s counsel is attached
 as Exhibit A to this letter.
 2
   A copy of the December 8, 2018 letter from VetPharm’s counsel is attached as
 Exhibit B to this letter.
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         NewMarket’s application is now moot. Yesterday, NewMarket purported to
 initiate an arbitration proceeding with AAA by filing a demand for arbitration.3
 NewMarket did not, however, pay the administrative filing fee required by AAA.
 Despite the fact that it is still represented by the white-shoe law firm of
 Cadwalader Wickersham & Taft LLP, NewMarket has claimed an exemption from
 the filing fee for “extreme hardship” under Rule 53 of the AAA Commercial
 Arbitration Rules. It is unclear at this time whether AAA will accept NewMarket’s
 claimed hardship exemption and whether it will consider the arbitration proceeding
 to be properly filed. If it does, VetPharm is fully prepared to participate in the
 arbitration and will submit an answer (together with any counterclaim that it may
 assert) in compliance with AAA’s Rules. If AAA rejects NewMarket’s filing, and
 if NewMarket thereafter declines to pay the requisite filing fee, then VetPharm
 may make an appropriate application to this Court seeking dismissal of this action
 due to NewMarket’s failure to arbitrate its claim.

        In all events, there is no basis for NewMarket’s suggestion that VetPharm
 has waived any claim that it may assert, or that VetPharm has otherwise acted
 inconsistent with its rights to demand arbitration. The cases cited by NewMarket
 do not support its position. VetPharm withdrew its earlier arbitration claim when
 NewMarket refused to pay its share of the fees, and does not read this Court’s
 earlier order as foreclosing it from re-filing its claims in arbitration should
 NewMarket become other than impecunious within the period of the statute of
 limitations on its claim for payment. VetPharm has been—and remains—ready,
 willing, and able to participate in any arbitration initiated by NewMarket and to
 pay VetPharm’s share of the arbitrator’s fees.

       We thank the Court for its attention to this matter.
                                               Respectfully submitted,
                                               HARRIS BEACH PLLC
                                               /s/ Kelly Jones-Howell
                                               By: Kelly Jones-Howell
 KJH:dem
 Copies: All counsel of record (via ECF)



 3
     A copy of NewMarket’s demand for arbitration is attached as Exhibit C to this
 letter.
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                         EXHIBIT A




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                                                                     Cadwalader, Wickersham & Taft LLP
CADWALADER                                                           200 Liberty Street, New York, NY 10281
                                                                     Tel +1 212 504 6000 Fax +1 212 504 6666
                                                                     www.cadwalader.com




         February 6, 2019

         E-MAIL

         Douglas A. Foss
         99 Garnsey Road
         Pittsford, NY 14534
         (585) 419-8800

         Re:      NewMarket v VetPharm 3:17-cv-01852-MAS-TJB


         Dear Douglas:

         The Court’s February 12, 2019 deadline to submit to arbitration is fast approaching. Based on
         our prior conversations you have informed me that VetPharm is considering its options after
         being informed by the AAA that original arbitration could not be revived and that VetPharm
         would therefore have to file a new arbitration. Since we last spoke, NewMarket has filed an
         action to appoint a liquidating trustee and to dissolve (MER-C-1-19). To the extent VetPharm
         re-files for arbitration it will seek protection under the appropriate AAA Rules regarding any
         fees or expenses associated with the arbitration. See, e.g. AAA Commercial Arbitration Rules
         and Mediation Procedures R-53 and R57. In the event that VetPharm does not re-file for
         arbitration NewMarket will seek to pursue its claims against VetPharm in the district court.

         Kindly let us know by the close of business Friday February 8, 2019 whether or not your client
         intends to re-file its arbitration against NewMarket in accordance with Judge Shipp’s
         December 13, 2019 Order.

         Regards,

         /s/ Robert M. Pollaro

         Robert M. Pollaro




         Robert Pollaro Tel (212) 504-6484 robert.pollaro@cwt.com

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                         EXHIBIT B




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  February 8, 2019                                                                           99 GARNSEY R OAD
                                                                                             PITTSFORD, NY 14534
                                                                                             (585) 419-8800

                                                                                             K YLE D. GOOCH
                                                                                             S ENIOR COUNSEL
                                                                                             DIRECT: (585) 419-8844
  BY EMAIL                                                                                   F AX :    (585) 419-8811
                                                                                             KGOOCH @HARRISBEACH . COM


  Robert M. Pollaro, Esq.
  Cadwalader, Wickersham & Taft LLP
  200 Liberty Street
  New York, New York 10281

          Re:      NewMarket v. VetPharm, No. 3:17-cv-01852-MAS-TJB (D.N.J.)

  Dear Robert:

          I write in response to your letter dated February 6, 2019, concerning the Court-ordered
  deadline for the parties to return to arbitration. Your letter suggests that (1) the burden is on
  VetPharm to initiate an arbitration proceeding and (2) that if VetPharm does not do so,
  NewMarket would then be free to pursue its claims against VetPharm in federal court. Neither
  of these suggestions is correct.

          The only pending claim for relief that is currently being asserted between the parties in
  any forum is NewMarket’s affirmative claim for injunctive relief, which it has asserted in the
  above-captioned action in the U.S. District Court for the District of New Jersey. While
  NewMarket has twice attempted to litigate that claim in federal court, both times the Court has
  issued an order compelling arbitration of the claim. In the latest order, dated December 12,
  2018, the Court ordered that “[t]he Parties shall return to arbitration by February 12, 2019.”
  (ECF Doc. No. 101, ¶ 4.) Under Rule 4 of the AAA Commercial Arbitration Rules, an
  arbitration is initiated when the claimant—i.e., the party seeking relief—files a Demand for
  Arbitration and pays the requisite administrative filing fee. Thus, under the Court’s order and
  AAA’s rules, the onus is necessarily on NewMarket, as the party seeking relief, to initiate the
  arbitration proceeding.

          NewMarket’s argument that VetPharm is responsible for initiating the arbitration makes
  no sense. VetPharm has no pending claim for relief in federal court. Its only status is as a
  defendant to NewMarket’s claim. Nothing in the parties’ submissions or the Court’s decision
  suggests that the Court was somehow compelling VetPharm to assert an affirmative claim for
  monetary relief against NewMarket solely to facilitate the adjudication of NewMarket’s claim
  for injunctive relief.1 Moreover, NewMarket’s position is further belied by paragraph 5 of the
  Court’s order, which provides that “if NewMarket fails to comply with the Court’s order
  requiring the parties to submit to arbitration within sixty days,” then VetPharm could renew its
  motion to dismiss. (ECF Doc. No. 101, ¶ 5.) That provision indicates that NewMarket, not
  VetPharm, is the party that must take steps to initiate the arbitration.


      1
         VetPharm, of course, reserves its rights to pursue such a claim as a counterclaim to an arbitration initiated
  by NewMarket, or to initiate its own arbitration claim at any time within the applicable statute of limitations.



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  Robert M. Pollaro, Esq.
  February 8, 2019
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          NewMarket has a choice. It can choose to pursue its claim through arbitration before
  AAA, as required by the parties’ Master Services Agreement, in which case it must commence
  an arbitration proceeding in accordance with the AAA Commercial Arbitration Rules. Or it can
  abandon its claim altogether. What NewMarket cannot do is refuse to arbitrate its claim and
  seek, for a third time, to have its claim heard in federal court. VetPharm has a contractual and
  statutory right under the Master Services Agreement and the Federal Arbitration Act to compel
  arbitration, and it has never waived that right.

         Accordingly, by February 12, 2019, NewMarket must either (1) initiate an arbitration
  proceeding pursuant to Rule 4 of the AAA Commercial Arbitration Rules or (2) stipulate to a
  voluntarily dismissal of its federal court action pursuant to Rule 41(a)(1)(A)(ii). If NewMarket
  does neither, and attempts to pursue its claim2 in federal court in defiance of two court orders
  compelling arbitration, VetPharm will renew its motion to dismiss and will reserve its rights to
  seek recovery of its attorneys’ fees as a sanction for NewMarket’s frivolous litigation conduct.

          Please let me know if you have any questions concerning VetPharm’s position.

                                                               Very truly yours,

                                                               /s/ Kyle D. Gooch

                                                               Kyle D. Gooch

  KDG:dem




      2
           Any further attempt by NewMarket to seek a preliminary injunction would be futile. We note that the
  Court has twice held that NewMarket failed to establish that it would suffer irreparable harm absent a preliminary
  injunction. In addition, NewMarket has delayed in seeking relief in any forum in the eight weeks that have passed
  since the entry of the Court’s December 12 order. Such a lengthy, unexplained delay fatally undermines any
  assertion by NewMarket that it is at imminent risk of suffering irreparable harm absent a preliminary injunction.
  See, e.g., Citibank, N.A. v. Citytrust, 756 F.2d 273, 276 (2d Cir. 1985) (“[D]elay alone may justify denial of a
  preliminary injunction ….”).



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                         EXHIBIT C




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        AMERICAN
                     INTERNATIONAL CENTRE
        ARBITRATION FOR DISPUTE RESOLUTION'             COMMERCIAL ARBITRATION RULES
        ASSOCIATION'                                          DEMAND FOR ARBITRATION

                    For Consumer or Employment cases, please visit www.adr.org for appropriate forms.


You are hereby notified that a copy of our arbitration agreement and this demand are being filed with the American Arbitration
Association with a request that it commence administration of the arbitration. The AAA will provide notice of your opportunity to file
an answering statement.

Name of Respondent: VetPharm, Inc.

Address: 349 West Commercial Street Suite 2200

City: East Rochester                                                    State: New York                     Zip Code: 14443

Phone No.: 585.249.1090                                                 Fax No.: 585.249.1091

Email Address: dday@vetpharm.com

Name of Representative (if known): Douglas Foss

Name of Firm (if applicable): Harris Beach PLLC

Representative's Address: 99 Garnsey Road

City: Pittsford                                                         State: New York                     Zip Code: 14534

Phone No.: 585.419.8612                                                 Fax No.: 585.419.8801

Email Address: dfoss@harrisbeach.com

The named claimant, a party to an arbitration agreement which provides for arbitration under the Commercial Arbitration Rules of
the American Arbitration Association, hereby demands arbitration.
Brief Description of the Dispute:

NewMarket hired VetPharm to monitor clinical studies related to an animal pharmaceutical and to prepare a written report. VetPharm
terminated the Agreement before completing the study or preparing any reports. NewMarket seeks recovery off all monies paid to VetPharm
and any remedies entitled to in under the Parties Agreement or otherwise.


Dollar Amount of Claim: $ 1,758,000+

Other Relief Sought: g Attorneys Fees g Interest g Arbitration Costs g Punitive/Exemplary
g Other: Early Termination Charges as defined by the Parties' Agreement.

Amount enclosed: $ 0 (Administrative Fees Hardship Waiver Claimed)
In accordance with Fee Schedule: ❑ Flexible Fee Schedule ❑ Standard Fee Schedule
Please describe the qualifications you seek for arbitrator(s) to be appointed to hear this dispute:

NewMarket requests that the arbitrator have knowledge of pharmaceutical product development, clinical trial management, clinical research
organizations, FDA regulations and electronic data capture.




Hearing locale: Trenton, NJ
(check one) g Requested by Claimant ❑ Locale provision included in the contract

Estimated time needed for hearings overall:                                hours or 2                            days



                         Please visit our website at www.adr.org if you would like to file this case online.
                                    AAA Case Filing Services can be reached at 877-495-4185.
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         AMERICAN
                      INTERNATIONAL CENTRE
         ARBITRATION FOR DISPUTE RESOLUTION'             COMMERCIAL ARBITRATION RULES
         ASSOCIATION'                                          DEMAND FOR ARBITRATION



Type of Business:
Claimant: NewMarket Pharmaceuticals LLC                             Respondent: VetPharm, Inc.

Are any parties to this arbitration, or their controlling shareholder or parent company, from different countries than each other?
No

Signature (may be signed by a representative):                       Date:
/s/ Robert M. Pollaro                                                February 12, 2019

Name of Claimant: NewMarket Pharmaceuticals LLC

Address (to be used in connection with this case): 4 Pitcairn Avenue Suite 4

City: Trenton                                                        State: New Jersey                 Zip Code: 08628

Phone No.: 908.252.9600                                              Fax No.:

Email Address: mridall@newmarketpharma.com

Name of Representative: Robert M. Pollaro

Name of Firm (if applicable): Cadwalader Wickersham & Taft LLP

Representative's Address: 200 Liberty Street

City: New York                                                       State: New York                   Zip Code: 10281

Phone No.: 212.504.6000                                              Fax No.: 212.504.6666

Email Address: robert.pollaro@cwt.com

To begin proceedings, please send a copy of this Demand and the Arbitration Agreement, along with the filing fee as provided for
in the Rules, to: American Arbitration Association, Case Filing Services, 1101 Laurel Oak Road, Suite 100 Voorhees, NJ 08043. At the
same time, send the original Demand to the Respondent.




                         Please visit our website at www.adr.org if you would like to file this case online.
                                    AAA Case Filing Services can be reached at 877-495-4185.
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